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                           UNITED STATES BANKRUPTCY COURT FOR
                              THE MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

IN RE:
                                                        CASE NO. 6:18-bk-02188-KSJ
BRUCE W. TILLEY                                         CHAPTER 7

         Debtor
                                            /


            CREDITOR’S MOTION FOR RELIEF FROM AUTOMATIC STAY
               Subject Property: 154 Fort Smith Boulevard, Deltona, FL 32738



                                  NOTICE OF OPPORTUNITY TO
                                   OBJECT AND FOR HEARING

                       Pursuant to Local Rule 2002-4, the Court will consider the relief
            requested in this paper without further notice or hearing unless a party in
            interest files a response within 21 days from the date set forth on the attached
            proof of service, plus an additional three days for service if any party was
            served by U.S. Mail.

                     If you object to the relief requested in this paper, you must file a
            response with the Clerk of the Court at 400 West Washington Street,
            Orlando, FL 32801 and serve a copy on the movant’s attorney, 1428 Brickell
            Avenue, Suite 600, Miami, FL 33131, and any other appropriate persons
            within the time allowed. If you file and serve a response within the time
            permitted, the Court will either schedule and notify you of a hearing or
            consider the response and grant or deny the relief requested without a
            hearing.

                      If you do not file a response within the time permitted, the Court
            will consider that you do not oppose the relief requested in the paper, will
            proceed to consider the paper without further notice or hearing, and may
            grant the relief requested.


         Creditor Deutsche Bank National Trust Company, as Trustee, in trust for the registered

holders of Morgan Stanley ABS Capital I Inc. Trust 2006-HE8, Mortgage Pass-Through

Certificates, Series 2006 HE8, (“Creditor”), by and through undersigned counsel and pursuant to

11 U.S.C. §362(d), Fed. Rule Bankr. P. 4001 moves this Court for relief from the automatic stay

to proceed in rem, and states:




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       1.      This Court has jurisdiction over the subject matter herein.

       2.      On or about June 29, 2006, Bruce W. Tilley and Catherine A. Tilley executed and

delivered a promissory note (the “Note”), and a mortgage securing payment of the Note (the

“Mortgage”). Creditor is entitled to enforce the Note, a true and correct copy of which is attached

hereto as Exhibit “A”.

       3.      The Mortgage was recorded on July 17, 2006 in the Official Records, Book 5874

at Page 2436 of the Public Records of Volusia County, Florida and encumbered the property

described in the Mortgage. A true and correct copy of the Mortgage is attached hereto as Exhibit

“B”. The Creditor is a secured creditor through the Note and Mortgage executed on June 29,

2006 in the amount of $209,000.00.

       4.      The Mortgage was subsequently assigned to Deutsche Bank National Trust

Company, as Trustee, in trust for the registered holders of Morgan Stanley ABS Capital I Inc.

Trust 2006-HE8, Mortgage Pass-Through Certificates, Series 2006 HE8, by virtue of an

assignment of mortgage (the “Assignment of Mortgage”) recorded on June 17, 2011, in the

Official Records Book 6602, at 4713 of the Public Records of Volusia County, Florida. A true

and correct copy of the Assignment of Mortgage is attached hereto as Exhibit “C”.

       5.      The loan was subsequently modified pursuant to the Loan Modification

Agreement, a true and correct copy of which is attached hereto as Exhibit “D”.

       6.      Select Portfolio Servicing, Inc. is the servicer of the loan described in the Note

and Mortgage and, as such, has the authority to initiate the instant action and any foreclosure on

the Creditor’s behalf pursuant to a Power of Attorney, attached hereto as Exhibit “E”.

       7.      The Creditor has the right to foreclose on the subject property.

       8.      Bruce W. Tilley and Catherine A. Tilley (“Debtor”) are in default under the Note

and Mortgage and are not adequately protecting the Creditor.



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       9.      The Debtor filed this voluntary Chapter 7 proceeding on April 17, 2018.

       10.     The Creditor holds a security interest in the subject property located: 154 Fort

Smith Boulevard, Deltona, FL 32738 (“Property”), more fully described in the Mortgage

attached as Exhibit “B”. The legal description for the Property is as follows:

LOT 12, BLOCK 1175, DELTONA, LAKES UNIT FORTY TWO, ACCORDING TO
THE PLAT THEROF, RECORDED IN MAP BOOK 27, AT PAGES 262, OF THE
PUBLIC RECORDS OF VOLUSIA COUNTY, FLORIDA.

       11.     Based on the Debtor’s schedules, the Property is being surrendered. See Exhibit

“F” attached. Pursuant to the valuation, attached hereto as Exhibit “G”, the property is valued at

$146,129.00.

       12.     The amount due to the Creditor as of May 04, 2018 is $268,075.57, as evidenced

by Exhibit “H” attached. The amount due exceeds the Property’s value as stated above, so there

is no equity in the Property.

       13.     The Creditor maintains that cause exists pursuant to 11 U.S.C. §362(d)(1) for the

automatic stay to be lifted. The Creditor’s security interest in the subject property is being

significantly jeopardized by the Debtors’ failure to make regular payments under the Note and

Mortgage while Creditor is prohibited from pursuing lawful remedies to protect such interest.

The default is based on the contractual default. The contractual monthly mortgage payment is

$1,076.62 which is comprised of principal and interest, as well as escrow, if applicable. The

Debtor is indebted to the Creditor in the total amount of $268,075.57. See Exhibit “H” attached.

       14.     Creditor further seeks relief to, at its option, offer, provide, and enter into any

potential loan assistance agreement. Creditor requests that it may contact the Debtor via

telephone or written correspondence to offer such an agreement.

       15.     Select Portfolio Servicing, Inc. is servicing the loan on behalf of the Creditor. Any

payments made to the Creditor must be sent to:



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                Select Portfolio Servicing, Inc.
                Attn: Remittance Processing
                P.O. Box 65450, Salt Lake City, UT 84165-0450

        15.     Creditor hereby waives the requirement under §362(e) that a hearing be held

within 30 days of filing the Motion for Relief from the Automatic

Stay.

        16.     Creditor respectfully requests that the Court waive the fourteen (14) day stay of

the order granting relief pursuant to Fed. Rule Bankr. P. 4001 (a)(3), so that Creditor can pursue

its in rem remedies without further delay.

WHEREFORE, Creditor, Deutsche Bank National Trust Company, as Trustee, in trust for the

registered holders of Morgan Stanley ABS Capital I Inc. Trust 2006-HE8, Mortgage Pass-

Through Certificates, Series 2006 HE8, prays that this Court issue an order terminating or

modifying the stay, and that the fourteen (14) day stay of the order pursuant to Fed. Rule Bankr.

P. 4001 (a)(3) be waived or, in the alternative, that the Debtor(s) be directed forthwith to make

regular cash payments that would adequately protect Creditor’s interest. Additionally,

Creditor requests this Court award any other relief this Court deems just and proper.

        Dated: May 30, 2018

                                              Heller & Zion, L.L.P.
                                              Attorneys for Movant
                                              1428 Brickell Avenue, Suite 600
                                              Miami, FL 33131
                                              Telephone: (305) 373-8001
                                              Facsimile: (305) 373-8030
                                              Designated Email: mail@hellerzion.com


                                              By:      /s/ Alexandra J. Sanchez, Esquire
                                                       Alexandra J. Sanchez, Esquire
                                                       Florida Bar No. 154423




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion for Relief

from Automatic Stay was served by CM/ECF system for all CM/ECF participants or first class

U.S. Mail on the following persons or entities at the addresses listed:

Bruce W Tilley
154 Fortsmith Blvd.
Deltona, FL 32738

Michael P Kelton, Esq.
Paul & Elkind, PA
142 East New York Avenue
DeLand, FL 32724
Email: mkelton@paulandelkind.com

Trustee
Arvind Mahendru
5703 Red Bug Lake Road
Suite 284
Winter Springs, FL 32708

U.S. Trustee
United States Trustee - ORL7/13
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801


Dated: May 30, 2018
                                              Heller & Zion, L.L.P.
                                              Attorneys for Secured Creditor
                                              1428 Brickell Avenue, Suite 600
                                              Miami, FL 33131
                                              Telephone: (305) 373-8001
                                              Facsimile: (305) 373-8030


                                              By:      /s/ Alexandra J. Sanchez, Esquire
                                                       Alexandra J. Sanchez, Esquire
                                                       Florida Bar No. 154423




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